






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00192-CV







In re Tony Cervantes







ORIGINAL PROCEEDING FROM MILAM COUNTY





M E M O R A N D U M   O P I N I O N


	Relator Tony Cervantes has filed a petition for writ of mandamus.  See Tex. R. App.
P. 52.8.  The documents he seeks were not introduced into the evidence heard at trial or included in
the appellate record.  We deny the petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Filed:   April 22, 2008


